
62 So.3d 684 (2011)
Paul Christopher ORTIZ, Appellant,
v.
STATE of Florida, Appellee.
No. 5D10-2498.
District Court of Appeal of Florida, Fifth District.
June 3, 2011.
*685 James S. Purdy, Public Defender, and George D.E. Burden, Assistant Public Defender, Daytona Beach, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Kellie A. Nielan, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
AFFIRMED. See Smith v. State, 59 So.3d 1107 (Fla.2011), (juror's surname, without more, is insufficient to trigger inquiry as to whether strike was exercised for discriminatory reason); Carratelli v. State, 961 So.2d 312, 318 (Fla.2007) (preservation of challenge to potential juror requires more than one objection; when trial court denies or grants peremptory challenge, objecting party must renew and reserve objection before jury is sworn).
SAWAYA, TORPY and EVANDER, JJ., concur.
